  Case 1-18-43991-cec     Doc 61      Filed 08/19/19         Entered 08/19/19 15:40:11


                    KOZENY & MCCUBBIN, L.C. LLC
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August 19, 2019

VIA ELECTRONIC FILING

Honorable Carla E. Craig
United States Bankruptcy Court
271-C Cadman Plaza East
Suite 1595
Brooklyn, NY 11201-1800

Re:            Toni G. Simons, aka Toni Gretchen Simons
Creditor:      Specialized Loan Servicing, LLC as servicer for Deutsche
               Bank National Trust Company, as Trustee for GSR Mortgage
               Loan Trust 2006-OA1, Mortgage Pass-Through Certificates,
               Series 2006-OA1
Chapter:       13
Case:          18-43991-cec

Dear Judge Craig,

       Our office represents Specialized Loan Servicing, LLC as servicer for
Deutsche Bank National Trust Company, as Trustee for GSR Mortgage Loan
Trust 2006-OA1, Mortgage Pass-Through Certificates, Series 2006-OA1, a
secured creditor of the above referenced Debtor.

      Loan Mod was denied on April 22, 2019. As of August 19, 2019,
Specialized Loan Servicing, LLC has not received an appeal to the denial.
Debtor’s Attorney has expressed Debtor’s interest in Loss Mitigation.

     Thank you for your consideration. Please contact the undersigned at
nybk@km-law.com should this court have any questions.

                                            Very truly yours,
                                            Kozeny & McCubbin, L.C. LLC

                                            /s/ Wesley T. Kozeny
                                            Wesley T. Kozeny, Esq.

CC:
Norma E. Ortiz (via ECF)
Michael J. Macco (via ECF)




      MISSOURI        KANSAS         NEBRASKA         OKLAHOMA          NEW YORK
